
PER CURIAM.
This cause is before us on appeal from the District Court of Appeal, First District. *702The decision sought to be reviewed1 initially construes provisions of the Federal and Florida Constitutions relating to the concept of fundamental fairness in juvenile court proceedings, giving this Court jurisdiction under § 4 of Article V of the Florida Constitution, F.S.A.
After argument and upon careful consideration of the record and briefs, we conclude that the excellent opinion of the District Court correctly answers the questions involved. No additional explanation or decision by way of an opinion of this Court is needed.
Accordingly, the decision of the District Court of Appeal is affirmed.
It is so ordered.
ROBERTS, C. J., and ERVIN, CARLTON, ADKINS, BOYD, DEKLE and McCAIN, JJ., concur.

. State v. R.E.F., a Juvenile, 251 So.2d 672 (Fla.App.1st 1971).

